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       Case 4:11-cv-00243-DPM Document 2 Filed 03/16/11 Page 2 of 8




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               Case 4:11-cv-00243-DPM Document 2 Filed 03/16/11 Page 3 of 8




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                  Case 4:11-cv-00243-DPM Document 2 Filed 03/16/11 Page 4 of 8




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